                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:01CR8-RLV


UNITED STATES OF AMERICA                      )
                                              )
                                              )
              vs.                             )              ORDER
                                              )
DWIGHT CONNOR                                 )
                                              )



       Leave of Court is hereby granted for the dismissal of the Supervised Release Violation in

the above-captioned case without prejudice.

       The Clerk is directed to send copies of this Order to the U.S. Probation Office, U.S. Marshal

Service, Defense Counsel, and the United States Attorney's Office.



                                                  Signed: December 20, 2011




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